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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF IDAHO
                 U.S. MAGISTRATE JUDGE MINUTE ENTRY
(X) Initial Appearance
(X) Arraignment
(X) Detention

MAGISTRATE JUDGE: Mikel H. Williams                        DATE: February 5, 2018
DEPUTY CLERK: Sherri O’Larey                               TIME: 1:27 - 1:33 p.m.
ESR: S. O’Larey                                            Boise, IDAHO

       UNITED STATES OF AMERICA vs. Raul Efrain Lopez
             18-cr-00018-EJL-1

Counsel for: United States (AUSA): Raymond Patricco
             Defendant: Melissa Winberg, Federal Defender
             Probation: Lisa Melchert
             Interpreter: not needed

(X) Defendant appears on a writ.
(X) Constitutional Rights advised.
(X) Maximum Penalties Provided.
(X) Defendant sworn, Financial Affidavit reviewed and Court appointed Federal Defender to represent
       the defendant.
(X) Indictment ( ) Information ( ) Complaint
       (X) Copy furnished to defendant/understands the charges and maximum penalties
       ( ) Read by Clerk (X) Waived Reading ( ) Read by Interpreter


(X ) PLEA: NOT GUILTY

(X) Parties made elections and Procedural Order entered. Jury Trial is set for 9:30 AM,
April 10, 2018, before Judge Edward J. Lodge, at Boise, Idaho. Telephone Pretrial Readiness
Conference to be set if deemed necessary.

(X) Defendant advised of his rights to a Detention hearing and signed waiver of detention.

(X) Court entered Order of Detention.

(X) Defendant waives his right to remain in Federal custody.

(X) Assertion of 5th and 6th Amendment Rights provided for filing.

(X) Defendant remanded to the custody of the U.S. Marshal.
